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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                       §       CHAPTER 11
                                             §
BEAUTIFUL BROWS LLC,                         §       Case No. 18-66766-jwc
                                             §
       Debtor.                               §

                 MOTION TO SET ADMINISTRATIVE CLAIMS BAR DATE FOR
                 ADMINISTRATIVE EXPENSES ARISING IN CHAPTER 11 CASE
       COME NOW S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy

estate (the “Estate”) of Beautiful Brows LLC, Debtor (the “Debtor”) in the above captioned case

(the “Case”), by and through counsel, and hereby files this Motion to Set Administrative Claims

Bar Date for Administrative Expenses Arising in Chapter 11 Case (the “Motion”) to request the

entry of an order establishing a bar date for the filing of a request for allowance and payment of

an administrative expense claim under 11 U.S.C. § 503, (the “Administrative Claims”), in the

Chapter 11 Case of the Debtor. In support of this Motion, the Trustee respectfully represents as

follows:

                                        JURISDICTION

       1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core

proceeding pursuant to 28 U.S.C. § 157(b).

       2.      The statutory and legal predicates for the relief sought herein are sections 105 and

503 of title 11 of the United States Code (the “Bankruptcy Code”) and the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).
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                                         BACKGROUND

       3.      On October 3, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of the Bankruptcy Code with the United States Bankruptcy Court for the

Northern District of Georgia (the “Court”).

       4.      On November 21, 2018, the United States Trustee filed a Notice of Appointment

of Chapter 11 Trustee and Setting of Bond [Doc. No. 46] pursuant to which S. Gregory Hays was

appointed as the Chapter 11 Trustee for the bankruptcy estate of the Debtor. After the United States

Trustee filed an Application for Approval of Selection of Appointment of Chapter 11 Trustee [Doc.

No. 47] on November 21, 2018, the Court entered an Order Approving Appointment of Chapter

11 Trustee [Doc. No. 49] on November 26, 2018, confirming the appointment of S. Gregory Hays

as the Chapter 11 trustee in the Case.

       5.      On September 3, 2019, the Court converted the Case to a proceeding under Chapter

7 effective August 30, 2019 [Doc. No. 170] and directed the United States Trustee to appoint a

trustee in the Chapter 7 Case.

       6.      From October 3, 2018 to and through August 30, 2019, the Debtor remained a

debtor under Chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”).

       7.      On September 4, 2019, the United States Trustee filed a Notice of Appointment of

Interim Chapter 7 Trustee and Section 341(a) Meeting of Creditors [Doc. No. 171] in which S.

Gregory Hays was appointed as interim trustee in the Chapter 7 Case. The Trustee remains the

duly acting Chapter 7 Trustee for the bankruptcy estate of the Debtor and is duly qualified to act

in such capacity.

       8.      The Chapter 7 Trustee is in the process of recovering and liquidating the remaining

assets of the Debtor and is aware that the Debtor may have incurred administrative expenses during




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the Chapter 11 Case. In the interest of having the most complete information possible, the Chapter

7 Trustee believes that fixing a bar date for Administrative Claims arising during the Chapter 11

Case is in the best interests of the Estate.

                                      RELIEF REQUESTED

        9.      By this Motion, the Trustee respectfully requests the entry of an order—

substantially in the form as the proposed Bar Order attached as Exhibit A hereto—pursuant to 11

U.S.C. §§ 105(a) and 503 establishing November 15, 2019 (the “Chapter 11 Administrative

Claims Bar Date”), as the deadline for the filing of claims or requests for payment of

administrative expenses of the kind specified in 11 U.S.C. § 503(b), and referred to in 11 U.S.C.

§ 507(a)(1), incurred during the Chapter 11 Case for the period beginning on October 3, 2018 to

and through August 30, 2019.

        10.     This request applies only to administrative expenses arising in the Chapter 11 Case

and does not include administrative claims arising in the Chapter 7 Case. Further, this request

does not include (a) any claim or request for compensation or reimbursement under 11 U.S.C. §

330 or § 331 for the Trustee or anyone whom he has hired, (b) any entity whose administrative

expense claim has been previously allowed by a final order of the Court; and (b) fees due the

United States Trustee under 28 U.S.C. § 1930.

        11.     The Trustee requests that any party required to file a request for allowance and

payment of any Administrative Claims in the Chapter 11 Case by the Chapter 11 Administrative

Claims Bar Date established herein that fails to file such a request on or before the Administrative

Claims Bar Date, be barred, estopped, and enjoined from asserting such administrative expense

claim against the Estate of the Debtor and the Estate of the Debtor shall be forever discharged from

any and all indebtedness, liability, or obligation with respect to such claim.




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       WHEREFORE, the Trustee respectfully request the entry of an Order: a) granting this

Motion; b) establishing an Administrative Claims Bar Date of November 15, 2019, or such other

date as the Court deems appropriate, for any claims, other than by the Trustee, any professionals

employed by the Trustee, any entity whose administrative expense claim has been previously

allowed by a final order of the Court, or fees due the United States Trustee under 28 U.S.C. §

1930 and e) granting such other and further relief as may be just and proper.

       Dated: September 30, 2019.

                                     Respectfully submitted,

                                     LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                     /s/ Henry F. Sewell, Jr.
                                     Henry F. Sewell, Jr.
                                     Georgia Bar No. 636265
                                     Buckhead Centre
                                     2964 Peachtree Road NW, Suite 555
                                     Atlanta, GA 30305
                                     (404) 926-0053
                                     hsewell@sewellfirm.com

                                     COUNSEL FOR THE CHAPTER 7 TRUSTEE




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                                    EXHIBIT A


                                  Proposed Order
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                      §       CHAPTER 11
                                            §
BEAUTIFUL BROWS LLC,                        §       Case No. 18-66766-jwc
                                            §
       Debtor.                              §

         BAR ORDER ESTABLISHING DEADLINE FOR FILING REQUESTS
           FOR PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
          PURSUANT TO 11 U.S.C. § 503 ARISING IN CHAPTER 11 ONLY
                    OCTOBER 3, 2018 - AUGUST 30, 2019


                                   THIS IS A BAR ORDER

TO: ALL POTENTIAL HOLDERS OF CHAPTER 11 ADMINISTRATIVE EXPENSE
CLAIMS AGAINST THE DEBTOR FOR THE PERIOD OCTOBER 3, 2018 TO AND
THROUGH AUGUST 30, 2019.



       PLEASE TAKE NOTICE that S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for

the bankruptcy estate (the “Estate”) of Beautiful Brows LLC, Debtor (the “Debtor”) in the above

captioned case (the “Case”) has filed a Motion to Set Administrative Claims Bar Date [Doc. No.

___] (the “Motion”). In the Motion, the Trustee requests the entry of an order establishing a bar
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date for the filing of a request for allowance and payment of administrative expenses claims under

11 U.S.C. § 503, including under 11 U.S.C. § 503(b)(9), in the Chapter 11 Case of the Debtor.

       Upon consideration of the Motion and for good cause shown, it is hereby ORDERED as

follows:

       1.      The Motion is GRANTED.

       2.      You are hereby notified as follows:

                  a. “Administrative Expense Claim” in this order means a claim for payment of

                      an administrative expense of a kind specified in 11 U.S.C. § 503(b), and

                      referred to in 11 U.S.C. § 507(a)(1). 11 U.S.C. § 503(b)(1)(A)(i) provides,

                      and this order hereby directs, that Administrative Expense Claims include,

                      without limitation wages, salaries, and commissions for services rendered

                      for the period October 3, 2018 to and through August 30, 2019.

                  b. Notwithstanding the paragraph just above, Administrative Expense Claims

                      in this order do not include (a) any claim or request for compensation or

                      reimbursement under 11 U.S.C. § 330 or § 331 for the Trustee or anyone

                      whom he has hired, (b) any entity whose administrative expense claim has

                      been previously allowed by a final order of the Court and (c) fees due the

                      United States Trustee under 28 U.S.C. § 1930. These are the only Chapter

                      11 Administrative Claims exempted from the scope of this Bar Order.

       3.      NOTICE IS HEREBY GIVEN THAT ANY APPLICATION FOR

ALLOWANCE OF AN ADMINISTRATIVE EXPENSE CLAIM ARISING WHILE THIS

BANKRUPTCY CASE WAS A CASE UNDER CHAPTER 11 OF TITLE 11, UNITED

STATES CODE MUST BE FILED ON OR BEFORE NOVEMBER 15, 2019, WITH THE
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CLERK       OF     THE    BANKRUPTCY            COURT,       13th FLOOR,        UNITED       STATES

COURTHOUSE, 75 TED TURNER DRIVE SW, ATLANTA, GA 30303;

       4.        ANY ADMINISTRATIVE EXPENSE CLAIM FOR THE PERIOD

OCTOBER 3, 2018 THROUGH AUGUST 30, 2019 THAT IS NOT FILED BY NOVEMBER

15, 2019, MAY BE BARRED, AND THEREBY SHALL RECEIVE NO DISTRIBUTION

OR PAYMENT FROM THIS DEBTOR’S BANKRUPTCY ESTATE – EXCEPT THAT

ANY CLAIM THAT HAS ALREADY BEEN ALLOWED BY AN ORDER OF THIS

COURT NEED NOT BE RE-FILED; and

       5.        The Trustee shall serve this Order and Notice upon all known creditors of the

debtor, all parties in interest to this case, all parties that have filed a notice of appearance in this

case, and any party that the Trustee reasonably believes may hold an Administrative Expense

Claim, no later than ten days after entry of this order.

                                     *** END OF ORDER ***

Prepared and Presented by:

        LAW OFFICES OF HENRY F. SEWELL JR., LLC

        /s/ Henry F. Sewell, Jr.
        Henry F. Sewell, Jr.
        Georgia Bar No. 636265
        Buckhead Centre
        2964 Peachtree Road NW, Suite 555
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        hsewell@sewellfirm.com

        PROPOSED COUNSEL FOR THE TRUSTEE
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                                CERTIFICATE OF SERVICE
        This is to certify that a true and correct copy of the Motion to Set Administrative Claims
Bar Date was served: (a) via the United States Bankruptcy Court for the Northern District of
Georgia's Electronic Case Filing System to all registered parties who have appeared in this Case;
and (b) by United States Mail with adequate postage affixed thereon on the party set forth below:
Office of the United States Trustee
c/o Thomas Wayne Dworschak, Esq.
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303
Via email and ECF

Beautiful Brows LLC
5002 North Royal Atlanta Dr
Suite M
Tucker, GA 30084


Dated: September 30, 2019.

                                     Respectfully submitted,

                                     LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                     /s/ Henry F. Sewell, Jr.
                                     Henry F. Sewell, Jr.
                                     Georgia Bar No. 636265
                                     Buckhead Centre
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                                     PROPOSED COUNSEL FOR THE TRUSTEE
